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                        IN THE UNITED STATES DISTRICT COURT

                    IN AND FOR THE DISTRICT OF UTAH, CENTRAL
                                    DIVISION

 THE UNITED STATES OF AMERICA,
                                                      ORDER TO CONTINUE SENTENCING
                  Plaintiff,
                                                              Case No. 2:15-cr-00716
 v.
                                                                    Judge: Clark Waddoups
 SAMER HAZIM MOHAMMED SALIH,

                  Defendant.

         The Court, having considered the defendant’s stipulated motion to continue

sentencing, (ECF No. 58) and for good cause appearing, ORDERS:

      1. The sentencing hearing set in this matter for July 9, 2018, at 2:00 p.m. is vacated.

      2. The matter is now set for sentencing on August 27, 2018, at 3:30 p.m.

Dated this 9th day of July, 2018.

                                                      BY THE COURT:


                                                      Clark Waddoups
                                                      United States District Judge
